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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

               CASE NO. 2:16-cv-14162-ROSENBERG/MAYNARD

    JAMES P. CROCKER,

          Plaintiff,

    vs.

    DEPUTY SHERIFF STEVEN ERIC
    BEATTY, in his individual capacity,

          Defendant.
                                              I

          Do you find from a preponderance of the evidence:

          1. That Defendant Beatty held an objectively reasonable belief

   that the photographs and videos on Mr. Cracker's iPhone were evidence

   of a crime and that the destruction of this evidence was imminent?

                       Answer Yes or No             /Vo
          Please proceed to Question 2.



          2. That Deputy Beatty's conduct caused Mr. Cracker's damages?

                       Answer Yes or No           Ye5
          If your answer is "No," this ends your deliberations, and your

   foreperson. should sign and date the last page of this verdict form. If

   your answer is "Yes," go to the next question.

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            3a. That Mr. Crocker should be awarded compensatory damages

    against Deputy Beatty?

                         Answer Yes or No           Ye,-6
            If your answer is "Yes," in what amount?

                                         -OR-

            3b. That Mr. Crocker should be awarded nominal damages

    against Deputy Beatty?

                         Answer Yes or No

            If your answer is ''Yes," in what amount?               $- - - - - -

            4. That punitive damages should be assessed against Deputy

    Beatty?

                         Answer Yes or No         !\fo
            If your answer is ''Yes," in what amount?              $



            So SAYWEALL.
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                                                Foreperson's Signature
    DATE:     lo I:3 (.;Ju r J7




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